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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                     GAINESVILLE DIVISION

JULIA E. COLE,

             Plaintiff,
v.                                           Case No. 1:16cv305-MW/GRJ

CITIBANK, N.A.,

          Defendant.
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                             ORDER CLOSING FILE

      The parties have filed a stipulation for dismissal with prejudice. ECF No.12.

The notice is effective without an order. See Fed. R. Civ. P. 41(a)(1)(A)(ii); Anago

Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012). Accordingly, the

Clerk must close the file.

      SO ORDERED on April 5, 2017.

                                      s/Mark E. Walker             ____
                                      United States District Judge
